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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                         )                BK No.:     20-03841
RUBY J. ADAMS                                  )
                                               )                Chapter: 13
                                               )
                                                                Honorable David D. Cleary
                                               )
                                               )
               Debtor(s)                       )

    AGREED REPAY ORDER WITH PROVISION FOR STAY RELIEF UPON DEFAULT

        THIS CAUSE coming to be heard on the motion of PHH MORTGAGE CORPORATION
(hereinafter, “Creditor”), for property located at 121 East 87th Street, Chicago, IL, the Court having
jurisdiction over the subject matter:

     IT IS HEREBY ORDERED:

      1. The parties have agreed to repay the following post-petition default pursuant to the terms of
this order:
a. Mortgage Payment(s) (05/01/20 - 07/01/20) 3 payments @ $584.41 = $1,753.23
b. NSF Fees (if any) $1,050.00 Motion for Relief; $181.00 Filing Fee           $1,231.00
                                                       SUB TOTAL               $2,984.23
c. Less amount in suspense (if any)                                            (-$889.18)
   Total Amount to be Repaid through this order                                $2,095.05


     2.   That Creditor must receive the following payments by the corresponding dates:

a. $349.18   plus the August, 2020 post-petition mortgage payment on or before the last day of that
month;
b. $349.18   plus the September, 2020 post-petition mortgage payment on or before the last day of that
month;
c. $349.18   plus the October, 2020 post-petition mortgage payment on or before the last day of that
month;
d. $349.18   plus the November, 2020 post-petition mortgage payment on or before the last day of that
month;
e. $349.18   plus the December, 2020 post-petition mortgage payment on or before the last day of that
month;
f. $349.15   plus the January, 2021 post-petition mortgage payment on or before the last day of that
month;

     3. That Creditor must receive the payments listed in Paragraph #2 on or before the corresponding
date. If Creditor fails to receive any one scheduled payment, the repayment schedule is void and if the
debtor fails to bring the loan post-petition current within fourteen (14) calendar days after mailing
notification to the Debtor and her attorney, the stay shall be automatically terminated as to Creditor, its
principals, agents, successors and/or assigns as to the property securing its interest, upon filing of notice
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of same with the clerk of the court;

      4. That upon completion of the repayment schedule of paragraph #2 or tender of funds to bring
the loan post-petition current under paragraph #3, the Debtor must continue to make "timely" post-
petition mortgage payments directly to Creditor continuing monthly thereafter for the pendency of the
bankruptcy;

      5. That a payment is considered "timely", if the full payment is received in the office of the
Creditor on or before the 15th day of the month in which it is due and a late charge is due on all
payments received after the 15th day of the month (this provision applies only to the triggering of this
order and does not affect what constitutes currency of the loan post-petition);

      6. That if Creditor fails to receive two "timely" post-petition monthly mortgage payments and if
the debtor fails to bring the loan post-petition current within fourteen (14) calendar days after mailing
notification to the Debtor and his attorney, the stay shall be automatically terminated as to Creditor, its
principals, agents, successors and/or assigns as to the property securing its interest, upon filing of notice
of same with the clerk of the court;

      7. Creditor's post-petition bankruptcy fees and costs of $1,231.00 are allowed and may be added
to the indebtedness secured by the subject mortgage. These fees and costs have been included in the
repayment schedule described herein;

      8. In the event that Creditor should have to send out any Notices of Default, Creditor may
include up to $100 per notice, as additional attorney fees, that the Debtor must pay in addition to
whatever funds are needed to cure the default and that said additional funds must be tendered prior to
the expiration of the cure period set forth in the Notice;

     9. Upon dismissal, discharge, chapter conversion, or relief from stay, the foregoing terms and
conditions shall cease to be binding, payments will be due pursuant to the terms of the original loan
agreement and Movant may proceed to enforce its remedies under applicable non-bankruptcy law
against the Real Property and/or against Debtors.


                /s/ Brenda Ann Likavec           /s/ Aaron M. Weinberg
                  Attorney for Creditor            Attorney for Debtor

                                                            Enter:


                                                                     Honorable David D. Cleary
Dated: July 20, 2020                                                 United States Bankruptcy Judge

 Prepared by:
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